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           Exhibit A-1
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  DISTRICT COURT, COUNTY OF DENVER,
  STATE OF COLORADO                                             DATE FILED: April 25, 2024 4:00 PM
                                                                FILING ID: 27E912EB9539C
  Court Address: Second Judicial District Court                 CASE NUMBER: 2024CV31264
                 Denver City and County Building
                 1437 Bannock Street
                 Denver, CO 80202

                                                                      ▲COURT USE ONLY ▲
  Plaintiff:      OLGA NOGUERA


  Defendants: UNITED AIRLINES, INC.                                    Case No.
              G2 SECURE STAFF, L.L.C.
                                                                       Division

  Attorney for Plaintiff:   Cheryl L. Trine, #38150
                            Trine Law Firm LLC
                            155 E. Boardwalk Drive #400
                            Fort Collins, CO 80525
                            Phone: 970-391-9442
                            Email: ctrine@trinelaw.net


                                  CIVIL CASE COVER SHEET


1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim,
crossclaim or third party complaint in every district court civil (CV) case. It shall not be filed in
Domestic Relations (DR), Probate (PR),, Juvenile (JA, JR, JD, JV), or Mental Health (MH) cases
or in Water (CW) proceedings subject to sections 37-92-302 to 37-92-305, C.R.S. Failure to file
this cover sheet is not a jurisdictional defect in the pleading but may result in a clerk’s show
cause order requiring its filing.

2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below if
this party asserts that C.R.C.P. 16.1 does not apply):

__ This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
expedited proceeding, or

_X_ This party is seeking a monetary judgment against another party of more than $100,000.00,
exclusive of interest and costs, as supported by the following certification:
       By my signature below and in compliance with C.R.C.P. 11, based upon information
       reasonably available to me at this time, I certify that the value of this party’s claims
       against one of the other parties is reasonably believed to exceed $100,000.

                                                 1
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OR

__ Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply to
this case.

3. _X_ This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P.
38. (Checking this box is optional.)

Date: ___4/25/24_____________ ___/s/ Olga Noguera_________________________
                                 Signature of Party

Date: ___4/25/24_____________ __/s/ Cheryl Trine___________________________
                                 Signature of Attorney for Party (if any)


NOTICE
This cover sheet must be served on all other parties along with the initial pleading of a
complaint, counterclaim, cross-claim, or third party complaint.




                                                 2
